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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

 In re:                                          )
                                                 )
 STEVEN W. BLOOM,                                )    Case No. 17-11650-TBM
                              Debtor.            )    Chapter 11
                                                 )

          DECLARATION IN LIEU OF DIRECT TESTIMONY WITH RESPECT TO
             CONFIRMATION OF DEBTOR’S SECOND AMENDED PLAN OF
                              REORGANIZATION


        In lieu of direct testimony, Steven W. Bloom (the “Debtor” or “Mr. Bloom”), through his
 undersigned counsel, makes the following offer of proof concerning confirmation of the Debtor’s
 Second Amended Plan of Reorganization (the “Plan”). At the hearing on confirmation of the
 Debtor’s Plan, the Debtor would call Mr. Bloom who would testify as follows:

          1.   Mr. Bloom is over the age of 18 years old and has personal knowledge of the
               information contained in this Declaration.

          2.   Mr. Bloom is the Debtor in this bankruptcy case. Mr. Bloom is familiar with his
               operations, financial affairs, and books and records. Mr. Bloom is familiar with all
               of the pleadings filed in this bankruptcy case, including the Plan, as amended, and
               the accompanying Disclosure Statement.

          3.   Mr. Bloom believes that the Debtor’s Plan provides the best solution for all creditors
               in this case. The Plan provides for reorganization of the Debtor under Chapter 11 of
               Title 11 of the United States Code (“Bankruptcy Code”).

          4.   The Plan complies with the applicable provisions of the Bankruptcy Code. The
               Debtor prepared and filed his Plan and accompanying Disclosure Statement. The
               Disclosure Statement was approved by the Bankruptcy Court. The Debtor mailed
               the Plan, Disclosure Statement and ballot to all creditors and parties in interest for
               voting on the Plan.

          5.   The Debtor has complied with the applicable provisions of the Bankruptcy Code.
               The Debtor filed his Voluntary Petition with the Bankruptcy Court, filed his
               Statement of Financial Affairs and Schedules, monthly reports, and has complied
               with all orders issued by the Bankruptcy Court.

          6.   The Plan has been proposed in good faith and not by any means forbidden by law.


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      7.    Any payment of professional fees made or to be made by the Debtor has been
            approved by or is subject to the approval of the Court as reasonable and which shall
            not be paid until the Court approves such fees.

      8.    The Debtor has disclosed the identity and affiliations of any individual proposed to
            serve as the Reorganized Debtor after confirmation of the Plan. The Plan empowers
            the Debtor to take such actions as may be necessary to perform his obligations under
            the Plan. On the Effective Date of the Plan, Mr. Bloom will be appointed pursuant
            to 11 U.S.C. §1142 for the purpose of carrying out the terms of the Plan, taking all
            actions deemed necessary or convenient to consummate the terms of the Plan,
            including, but not limited to, the payment of creditors pursuant to the Plan.

      9.    There are no governmental regulatory commissions with jurisdiction which, after
            confirmation of the Plan, oversee the rates of the Debtor and no approval of Debtor's
            receipt of income is subject to governmental regulation.

      10.   With respect to each impaired class of claims or interests, each holder of a claim or
            interest has either accepted the Plan, has been deemed to have accepted the Plan, or
            will receive or retain under the Plan on account of such claim or interest, property
            of a value, as of the Effective Date of the Plan, that is not less than the amount that
            such holder would so receive or retain if the Debtor were liquidated under Chapter
            7 of the Bankruptcy Code on such date.

      11.   Except to the extent that the holder of a particular claim has agreed to a different
            treatment of such claim, the Plan provides that:

            a.     with respect to a claim of a kind specified in §§507(a)(2) or 507(a)(3) of the
                   Bankruptcy Code, on the Effective Date of the Plan, the holder of such claim
                   will receive on account of such claim cash equal to the allowed amount of
                   such claim;
            b.     with respect to a class of claims of a kind specified in §§507(a)(1), 507(a)(4),
                   507(a)(5), 507(a)(6), or 507(a)(7) of the Bankruptcy Code, each holder of a
                   claim of such class will receive:
                   i.      if such class has accepted the Plan, deferred cash payments of a
                           value, as of the Effective Date of the Plan, equal to the allowed
                           amount of such claim; or
                   ii.     if such class has not accepted the Plan, cash on the Effective Date
                           equal to the allowed amount of such claim;
            c.     with respect to a claim of a kind specified in §507(a)(8) of the Bankruptcy
                   Code, the holder of such claim will receive on account of such claim will
                   receive on account of such claim regular installment payments in cash:
                   i.      of a total value, as of the Effective Date of the Plan, equal to the
                           allowed amount of such claim;


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                   ii.      over a period ending not later than 5 years after the date of the order
                            for relief under §§301, 302 or 303 of the Bankruptcy Code; and,
                   iii.     in a manner not less favorable than the most favored nonpriority
                            unsecured claim provided for by the Plan (other than cash payments
                            made to a class of creditors under §1122(b) of the Bankruptcy Code).
            d.     With respect to a secured claim which would otherwise meet the description
                   of an unsecured claim of a governmental unit under §507(a)(8), but for the
                   secured status of that claim, the holder of that claim will receive on account
                   of that claim, cash payments, in the same manner as prescribed in 11 U.S.C.
                   §1129(a)(9)(C).

      12.   At least one non-insider impaired class has voted to accept the Plan and/or are
            deemed to have accepted the Plan. A Ballot Summary has been filed with the Court
            evidencing the same.

      13.   Confirmation of the Plan will not be followed by the liquidation of Debtor's assets
            or the need for further financial reorganization of the Debtor.

      14.   All fees payable under 28 U.S.C. §1930, as determined by the Court at a hearing on
            confirmation of the Plan, have been paid or the Plan provides for the payment of all
            such fees on the Effective Date of the Plan and continuing thereafter until the case
            is closed and/or dismissed by order of the Bankruptcy Court.

      15.   With respect to allowed secured claims, the holders of allowed secured claims shall
            retain their liens securing their claims and shall receive deferred cash payments equal
            to the allowed amount of such secured claims, with interest, or such secured claims
            are not impaired under the Debtor’s Plan.

      16.   It is unlikely that the Debtor will need to liquidate or require further financial
            reorganization after confirmation of the Plan.

      17.   The Debtor does not provide retirement benefits.

      18.   The Debtor is the subject to a judicial or administrative order, or by statute, to pay
            a domestic support obligation. The Debtor is current on his post-petition support
            obligations. Further, the Debtor’s Second Amended Plan requires the Debtor to pay,
            in full, all arrears of any pre-petition domestic support obligation by the Effective
            Date.

      19.   The Plan does not discriminate unfairly, is fair and equitable, with respect to each
            class of claims or interests that is impaired under, and has not accepted the Plan.




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       20.    With respect to secured claims, the Plan provides:

              a.        that the holders of such claims retain the liens securing such claims, whether
                        the property subject to such liens is retained by the Debtor or transferred to
                        another entity, to the extent of the allowed amount of such claims; and
              b.        that each holder of a claim of such class receive on account of such claim
                        deferred cash payments totaling at least the allowed amount of such claim,
                        of a value, as of the Effective Date of the Plan, of at least the value of the
                        holder’s interest in the estate’s interest in such property
              c.        for the sale, subject to §363(k) of the Bankruptcy Code, of any property that
                        is subject to the liens securing such claims, free and clear of such liens, with
                        such liens to attach to the proceeds of such sale, and the treatment of such
                        liens on proceeds under clause (i) or (iii) of 11 U.S.C. §1129(b)(2)(A).
              d.        for the realization by such holders of the indubitable equivalent of such
                        claims.

       21.    With respect to a class of unsecured claims:

              a.        the Plan provides that each holder of a claim of such class receive or retain
                        on account of such claim property of a value, as of the Effective Date of the
                        Plan, equal to the allowed amount of such claim; or
              b.        the holder of any claim or interest that is junior to the claims of such class
                        will not receive or retain under the Plan on account of such junior claim or
                        interest any property, except that in a case in which the debtor is an
                        individual, the debtor may retain property included in the estate under §1115
                        of the Bankruptcy Code, subject to the requirements of 11 U.S.C.
                        §1129(a)(14).


      IN ACCORDANCE WITH 28 U.S.C. §1746, I DECLARE UNDER PENALTY OF
 PERJURY THAT I HAVE EXAMINED THE FOREGOING DECLARATION AND THE
 STATEMENTS THEREIN, AND, TO THE BEST OF MY KNOWLEDGE, THE DECLARATION
 AND THE STATEMENTS THEREIN ARE TRUE, CORRECT AND COMPLETE.


 Dated: May 16, 2019.

                                                        __________________________
                                                        Steven W. Bloom




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